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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE: CATHODE RAY TUBE (CRT)                      MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                       Case No. C-07-5944 JST

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                                        This Order Relates To:                             ORDER REGARDING SUPPORT FOR
                                  10                                                       CHUNGHWA NOTICE COSTS
                                  11    ALL INDIRECT PURCHASER ACTIONS
                                  12
Northern District of California
 United States District Court




                                  13          Among the topics addressed at the fairness hearing held on April 19, 2016 was the issue of

                                  14   notice costs for the Chunghwa settlement. Certain objectors had asked that the Court have those

                                  15   claimed expenses audited. At the Court’s suggestion, all parties agreed that it would resolve the

                                  16   issue satisfactorily if the Court viewed the materials supporting the claimed notice expenses in

                                  17   camera. The Court ordered the documents lodged with the Court by April 22, 2016. See ECF No.

                                  18   4572 at 2 ¶ 2.

                                  19          On April 20, 2016, the Ninth Circuit issued a ruling in Yamada v. Nobel Biocare, No. 14-

                                  20   55263, D.C. No. 2:10-cv-04849-MWF-PLA. In that case, the Ninth Circuit held that a district

                                  21   court that reviews attorney timesheets to resolve a fee dispute in a class action must make the

                                  22   timesheets available to opposing counsel when requested. See id at 15 (“So the question is

                                  23   whether judicial efficiency may eclipse Defendants’ fundamental right to inspect and challenge the

                                  24   documents. It may not.”). The Court was not aware of Yamada during yesterday’s hearing.

                                  25          Although the current request relates only to notice expenses, not timesheets ‒ and although

                                  26   the parties stipulated to the Court’s suggested procedure ‒ the Court nonetheless believes that the

                                  27   better practice is to provide the materials to opposing counsel. Had the Court been aware of the

                                  28   Yamada decision before yesterday’s hearing, it would have ordered that the notice expense
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                                   1   materials be filed on the docket rather than lodged for in camera review.

                                   2          The Court now orders Lead Counsel to file the documents on the docket. Lead Counsel

                                   3   may request the documents be filed under seal if he believes it necessary. The deadline for filing

                                   4   remains April 22, 2016.

                                   5          IT IS SO ORDERED.

                                   6   Dated: April 20, 2016
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                                                                                                     JON S. TIGAR
                                   8                                                           United States District Judge

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Northern District of California
 United States District Court




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